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IN THE UNTER STATES DISTRICT COURS. vistpicg Clerk
FOR THE NORTHERN DISTRICT OF OKLAHOMA aust

UNITED STATES OF AMERICA,
Plaintiff,
v.

NAVIN KHANNA, a/k/a “Lovin,”
a/k/a “Logan,”

ADAM G. SHARKEY,

ROBERT GARY SHARKEY,
BENJAMIN ROBERT MANSOUR,
TYLER JAMES CURTIS, a/k/a “Ty,”
REISS NICOLE BIBY,

MARTYNAS MACERAUSKAS, a/k/a

“Marty, ”?

KRISTINA McKAY MACERAUSKAS,

PARKER STAR WEAVEL,
SHANE ALLEN MINNICK,
RYAN DAVID LARUE,

BRIAN PATE THOMAS,
MICHAEL ANTHONY RHODEN,
a/k/a “Big Mike,”

Defendants.

THE GRAND JURY CHARGES:

 

Case No.22CRS848 GKP

 

FILED UNDER SEAL

INDICTMENT

[COUNT ONE:

18 U.S.C. §§ 371 and 2 -
Conspiracy;

COUNTS TWO through
NINETEEN: 18 U.S.C. §§ 2315
and 2 — Sale and Receipt of
Stolen Goods;

COUNTS TWENTY through
TWENTY-THREE:

18 U.S.C. § 1956(h) —
Conspiracy to Commit Money
Laundering;

COUNTS TWENTY-FOUR
through FORTY:

18 U.S.C. § 1957(a) — Engaging
in Monetary Transactions in
Property Derived from Specified
Unlawful Activity;

Forfeiture Allegation: 18 U.S.C.
§§ 981(a)(1)(c) and 982(a)(1) and
28 U.S.C. § 2461 — Conspiracy
and Racketeering Forfeiture]
COUNT ONE

[18 U.S.C. §§ 371 and 2]
INTRODUCTION
1. As used in the Indictment, the following terms have the following
meanings:
2. “Catalytic converter” is a component of an automotive vehicle’s

exhaust device that reduces the toxic gas and pollutants from a vehicle’s internal
combustion engine into safe emissions by catalyzing a redox reaction process.
Catalytic converters contain precious metals, including platinum, rhodium, and
palladium. A worldwide supply shortage has brought about an increase in the
precious metals demand and value.

3. A “cutter” is a person who steals catalytic converters from privately
owned vehicles.

4, An “intermediate buyer” isa person, organization, or entity that
purchases or receives stolen catalytic converters from cutters. The intermediate
buyer then re-sells the catalytic converter to third parties.

5. A “core buyer” is a person, organization, or entity that purchases or
receives stolen catalytic converters from intermediate buyers. Large-scale core
buyers purchase the stolen catalytic converters to repackage and transport shipments

to third parties, including foreign refineries.
6. “Recyclers” or “refineries” are industrial recycling plants that purchase
or receive stolen catalytic converters from core buyers. Recyclers extract the precious
metals and pay core buyers once the quantity of precious metals is determined.

THE CONSPIRACY AND ITS OBJECTS

 

7. From in or about May 2020 to the date of this Indictment, in the
Northern District of Oklahoma and elsewhere, the defendants, NAVIN KHANNA,
a/k/a “Lovin,” a/k/a “Logan” (“KHANNA”), ADAM G. SHARKEY (“A.
SHARKEY”), ROBERT GARY SHARKEY (“R. SHARKEY”), BENJAMIN
ROBERT MANSOUR (“MANSOUR”), TYLER JAMES CURTIS, a/k/a “Ty”
(“T. CURTIS”), REISS NICOLE BIBY (“R. BIBY”), MARTYNAS
MACERAUSKAS, a/k/a “Marty” (*“M. MACERAUSKAS”), KRISTINA
McKAY MACERAUSKAS (“K, MACERAUSKAS”), PARKER STAR
WEAVEL (““WEAVEL”), SHANE ALLEN MINNICK (“MINNICK”), RYAN
DAVID LARUE (“LARUE”), BRIAN PATE THOMAS (“THOMAS”),
MICHAEL ANTHONY RHODEN, a/k/a “Big Mike” (“RHODEN”), knowingly
and willfully conspired, confederated, and agreed, with each other and others,
known and unknown to the Grand Jury (collectively, the “Conspirators”), to commit
certain offenses against the United States, that is, to violate Title 18, United States
Code, Section 2315, by receiving, possessing, concealing, storing, bartering, selling,
and disposing of any goods, wares, and merchandise of the value of $5,000 or more,

which have crossed a State boundary after being stolen, unlawfully converted, and
taken, knowing the same to have been stolen, unlawfully converted, and taken, as
described below.

THE PURPOSE OF THE CONSPIRACY

 

8. The purpose of the Conspiracy was for the Conspirators to unlawfully
enrich themselves by stealing catalytic converters from private vehicles within the
Northern District of Oklahoma and elsewhere, then selling the catalytic converters to
intermediate buyers and core buyers outside the state of Oklahoma.

MANNER AND MEANS OF THE CONSPIRACY

 

T. CURTIS’ Origins with Catalytic Converters

9. It was part of the Conspiracy that the Conspirators used the following
manner and means to accomplish the Conspiracy:

10. T. CURTIS began working for Unindicted Co-Conspirator No. 1, a
person known to the Grand Jury, as a buyer of catalytic converters. This required T.
CURTIS to travel outside of Oklahoma to purchase catalytic converters.

11. Through his employment with Unindicted Co-Conspirator No. 1, T.
CURTIS became acquainted with various core buyers located throughout the United
States who were interested in purchasing catalytic converters in bulk quantities.

12. Onor about January 2021, T. CURTIS opened Curtis Cores, LLC,
located at 24890 East Highway 51 in Broken Arrow, Oklahoma.

13. Using Curtis Cores, LLC, T. CURTIS purchased bulk quantities of

stolen catalytic converters from cutters and various intermediate buyers throughout
the United States and resold the stolen catalytic converters to other intermediate
buyers and various core buyers located throughout the United States, including DG
Auto and Capital Cores Corp.

14. DG Auto isa core buying business in Freehold, New Jersey, owned
and operated by KHANNA, that purchases bulk quantities of catalytic converters.

15. Capital Cores Corp is a core-buying business in West Islip, New York,
owned and operated by A. SHARKEY that purchases bulk quantities of catalytic
converters for resale to nationwide core buyers.

The Conspirators’ Reliance on DG Auto

16. DG Auto is affiliated with multiple nationwide intermediate buyers of
catalytic converters, organized by geographic region. The intermediate buyers are
privately owned businesses identified as DG Auto affiliated locations within their
geographic region.

17. The DG Auto affiliated intermediate buyers are further organized in
tiers. Low-tiered intermediate buyers sell catalytic converters to high-tiered
intermediate buyers.

18. DG Auto receives catalytic converters exclusively from the high-tiered
DG Auto affiliated intermediate buyers.

19. Curtis Cores LLC, Capital Cores Corp. and M & M Core Buying are
high-tiered DG Auto affiliated buyers.

20. DG Auto provides intermediate buyers and core buyers across the

country with a website and web-based application that allow cutters, intermediate
5
buyers, and core buyers to purchase annual or monthly access to the DG Auto
database, providing members detailed catalytic converter information and real time
commodity market pricing.

21. The DG Auto website and web-based application also allows
intermediate buyers to hedge product prices, meaning intermediate buyers are able to
lock in current commodity prices before delivering to DG Auto affiliates, preventing
profit loss from a fluctuating commodities market.

22. The DG Auto web-based services provide current prices of catalytic
converters based on the make and model of a particular vehicle, assisting cutters in
identifying the make and model of vehicles to target.

23. Additionally, DG Auto provides financial assistance to its higher-tiered
intermediate buyers by supplying them with currency to purchase bulk quantities of
catalytic converters.

24. DG Auto electronically transfers funds and transports concealed bulk
currency to its higher-tiered intermediate buyers across the country in advance of
sales to aid intermediate buyers in the purchasing of stolen catalytic converters.

25. DG Auto affiliated buyers pay cutters the published price on the DG
Auto application for any catalytic converters provided.

26. The DG Auto affiliated buyers transport the purchased catalytic

converters to DG Auto or other DG Auto affiliated intermediate buyers.
The Conspirators’ Acquisition of Stolen Property

27. Based on the precious metals market and the prices DG Auto agreed to
pay, cutters targeted certain vehicles, including, among others, Toyota Prius, Toyota
Tundra, Honda Element, and Ford F-250 and larger commercial trucks.

28. Cutters target residential neighborhoods and closed commercial
locations, including automotive dealerships and rental vehicle locations.

29. Cutters use reciprocating saws and handheld pipe cutting tools to cut
catalytic converters from private vehicles, resulting in rough, jagged edges on exhaust
piping, frequently leaving the O? (oxygen) sensors with the catalytic converters.

30. After stealing catalytic converters, cutters deliver the stolen catalytic
converters to lower-tiered intermediate buyers, including MANSOUR.

31. The lower-tiered intermediate buyers pay cutters with cash or drugs for
the stolen catalytic converters.

32. The lower-tiered intermediate buyers, including MANSOUR, deliver
bulk quantities of stolen catalytic converters to higher-tiered intermediate buyers,
including T. CURTIS, M. MACERAUSKAS, and A. SHARKEY.

33. The higher-tiered intermediate buyers encourage the lower-tiered
intermediate buyers to conceal the stolen catalytic converters prior to delivery,

including transporting the catalytic converters inside storage containers and trucks

and covering the catalytic converters in truck beds and trailers.
34. The higher-tiered intermediate buyers use cash and wire funds to pay
lower-tiered intermediate buyers for the bulk stolen catalytic converters.

35. The higher-tiered intermediate buyers package and deliver the stolen
catalytic converters to core buyers, including KHANNA.

36. The higher-tiered intermediate buyers conceal the shipments of stolen
catalytic converters to core buyers by wrapping the shipments of catalytic converters
to include tamper seals and false shipping documentation.

37. The core buyers, including KHANNA, use bulk cash and wire funds to
pay intermediate buyers for the stolen catalytic converters.

The Conspirators’ Interstate Sale and Receipt of Stolen Property

38. After receiving stolen catalytic converters from cutters or lower
intermediate buyers, T. CURTIS, A. SHARKEY, M. MASERAUSKAS,
WEAVEL, MINNICK, LARUE, THOMAS, RHODEN, and R. SHARKEY,
along with other co-conspirators, conceal and store the inventory in preparation for
shipment to core buyers.

39. The Conspirators organized stolen catalytic converters in preparation
for interstate shipment at storage locations, including Curtis Cores LLC, located at
24890 East Highway 51, Broken Arrow, Oklahoma (“the Curtis Cores location”),
Capital Cores Corp, located at 320 Monroe Avenue, West Islip, New York; and M

& M Core Buying, located at 317 South Collinson Street, Clarendon, Texas.
AO. T. CURTIS coordinated shipment of the stolen catalytic converters to
core buyers located outside the state of Oklahoma, as follows:

a. T. CURTIS received stolen catalytic converters from low-level
intermediate buyers in Texas, Kansas, New York, Arkansas,
Minnesota, New Mexico, Louisiana, Missouri, and other states.

b. T. CURTIS delivered stolen catalytic converters to other high-
level intermediate buyers, such as A. SHARKEY and core buyers,
including KHANNA.

c. T. CURTIS and other Curtis Cores LLC employees drove stolen
catalytic converters to DG Auto in Freehold, New Jersey, using private
and rented vehicles.

d. Conspirators packaged and shipped stolen catalytic converters
through commercial common freight companies.

41. Over the course of the Conspiracy, T. CURTIS received approximately
$13,144,093.00 in wired funds from DG Auto for the shipment of catalytic
converters, most of which were stolen.

42. Over the course of the Conspiracy, T. CURTIS received approximately
$513,533.39 in wired funds from Capital Cores for the shipment of catalytic
converters, most of which were stolen.

43. A. SHARKEY coordinated shipment of the stolen catalytic converters

to core buyers located outside the state of New York, as follows:
44,

a. A. SHARKEY delivered stolen catalytic converters to other
intermediate buyers, such as T. CURTIS and core buyers, including
KHANNA.

b. A. SHARKEY received stolen catalytic converters from lower-
level intermediate buyers, including MANSOUR, through private
delivery and commercial freight shipments.

c. R. SHARKEY drove stolen catalytic converters to Curtis Cores
LLC in Broken Arrow, Oklahoma, using rented vehicles.

d. Lower-level intermediate buyers packaged and shipped stolen
catalytic converters to Capital Cores Corp using private delivery,
commercial shipping, and commercial freight and common carrier
companies.

Over the course of the Conspiracy, A. SHARKEY received

approximately $45,470,447.11 in wired funds from DG Auto for the shipment of

catalytic converters, including many which were stolen.

45.

A. SHARKEY teceived approximately $292,440.00 in wired funds

from Curtis Cores LLC for shipment of catalytic converters, including many which

were stolen.

46.

M. MACERAUSKAS coordinated shipment of the stolen catalytic

converters to core buyers located outside the state of Texas, as follows:

10
a. M. MACERAUSKAS delivered stolen catalytic converters to
core buyers, including KHANNA.

b. M. MACERAUSKAS and K. MACERAUSKAS drove stolen
catalytic converters to DG Auto in Freehold, New Jersey, using private
and rented vehicles.

c. KHANNA paid Conspirators to package and ship stolen
catalytic converters using commercial freight companies.

47. M.MACERAUSKAS received approximately $6,108,448.00 in
payments from DG Auto for shipment of catalytic converters, including many which
were stolen.

OVERT ACTS

48. In furtherance of the Conspiracy, the Conspirators committed, in the
Northern District of Oklahoma and elsewhere, one or more of the following acts:

49. Onor about December 12, 2020, MANSOUR caused approximately
$1,575 to be transferred through CashApp to Unindicted Co-conspirator No. 2, an
intermediate buyer known to the Grand Jury, for the payment of stolen catalytic
converters.

50. Onor about December 15, 2020, Unindicted Co-Conspirator No. 2
delivered bulk stolen catalytic converters to MANSOUR.

51. Onor about January 3, 2021, MANSOUR delivered stolen catalytic

converters to T. CURTIS.

11
52. On or about April 24, 2021, T. CURTIS received bulk quantities of
stolen catalytic converters from Unindicted Co-Conspirator No. 3, a person known
to the Grand Jury.

53. Onor about April 28, 2021, T. CURTIS received bulk quantities of
stolen catalytic converters from Unindicted Co-Conspirator No. 3.

54. Onor about May 2, 2021, T.CURTIS possessed $9,922 in U.S.
currency, heroin, cocaine, prescription narcotics, a loaded firearm and 128 stolen
catalytic converters with uneven, jagged edges.

55. Onor about May 2, 2021, Unindicted Co-Conspirator No. 4, a person
known to the Grand Jury, disposed of the contents of T. CURTIS’ safe located at
the Curtis Cores LLC location.

56. Onor about May 15, 2021, M. MACERAUSKAS communicated over
Facebook Messenger with KHANNA about concealing stolen catalytic converters.

57. Onor about December 2, 2021, Unindicted Co-Conspirator No. 5, a
person known to the Grand Jury, stole a catalytic converter from a 2001 Ford
Excursion in Rogers County, Oklahoma.

58. Onor about December 2, 2021, MANSOUR purchased a stolen
catalytic converter from Unindicted Co-Conspirator No. 5.

59. Onor about January 13, 2022, MANSOUR shipped stolen catalytic
converters from Bixby, Oklahoma, to A. SHARKEY through a common

commercial freight carrier.

12
60. Onor about March 18, 2022, MANSOUR caused Unindicted Co-
Conspirator No. 6, a person known to the Grand Jury, to deliver stolen catalytic
converters to T. CURTIS at the Curtis Cores LLC location.

61. Onor about March 21, 2022, MANSOUR caused Unindicted Co-
Conspirator No. 6 to deliver stolen catalytic converters to T. CURTIS at the Curtis
Cores LLC location.

62. Onor about March 28, 2022, MANSOUR caused Unindicted Co-
Conspirator No. 6 to deliver stolen catalytic converters to T. CURTIS at the Curtis
Cores LLC location.

63. Onor about April 1, 2022, MANSOUR caused Unindicted Co-
Conspirator No. 6 to deliver stolen catalytic converters to T. CURTIS at the Curtis
Cores LLC location.

64. Onor about April 5, 2022, MANSOUR caused Unindicted Co-
Conspirator No. 6 to deliver stolen catalytic converters to T. CURTIS at the Curtis
Cores LLC location.

65. Onor about April 16, 2022, K. MACERAUSKAS received bulk U.S.
currency from KHANNA at the Curtis Cores LLC location.

66. Onor about April 20, 2022, KHANNA caused $500,000.00 to be
transmitted through wire communication to Unindicted Co-Conspirator No. 7, a

Virginia-based person known to the Grand Jury.

13
67. Onor about April 22, 2022, M. MACERAUSKAS transferred
$100,000.00 in U.S. currency to Unindicted Co-Conspirator No. 8, a person known
to the Grand Jury, as payment for stolen catalytic converters.

68. Onor about April 24, 2022, Unindicted Co-Conspirator No. 4 received
$500,000 in U.S. currency from Unindicted Co-Conspirator No. 7, for transport to
T. CURTIS in Broken Arrow, Oklahoma.

69. Onor about April 27, 2022, K. MACERAUSKAS received bulk U.S.
currency from KHANNA at the Curtis Cores LLC location as payment for stolen
catalytic converters.

70. Onor about April 28, 2022, WEAVEL, THOMAS and T. CURTIS
received stolen catalytic converters in Tulsa, Oklahoma, from Unindicted Co-
Conspirator No. 9, a person known to the Grand Jury.

71. Onor about April 29, 2022, T. CURTIS caused $15,000.00 to be
transmitted through wire payment to LPZ Recycling in Oklahoma City, Oklahoma,
for the purchase of stolen catalytic converters.

72. Onor about April 29, 2022, T. CURTIS caused $31,800.00 to be
transmitted through wire payment to PNR Junk Cars in Houston, Texas, for the
purchase of stolen catalytic converters.

73. Onor about May 1, 2022, R. SHARKEY delivered stolen catalytic

converters from Texas to T. CURTIS at the Curtis Cores LLC location.

14
74. Onor about May 1, 2022, RHODEN inventoried and stored stolen
catalytic converters received at the Curtis Cores LLC location from Unindicted Co-
Conspirator No. 10, an intermediate buyer of stolen catalytic converters, known to
the Grand Jury.

75. Onor about May 1, 2022, R. BIBY withdrew $30,000.00 in U.S.
currency from Curtis Cores LLC’s Arvest Bank account xxxx7264 to pay for stolen
catalytic converters.

76. Onor about May 2, 2022, MINNICK, an employee of Curtis Cores
LLC, transported stolen catalytic converters from Oklahoma to Colorado for
delivery to Unindicted Co-Conspirator No. 11, a Colorado-based intermediate buyer
known to the Grand Jury.

77. Onor about May 3, 2022, THOMAS, an associate of Curtis Cores
LLC, delivered $150,000.00 in U.S. currency to Unindicted Co-Conspirator No. 12,
a person in Houston, Texas, known to the Grand Jury, for the purchase of stolen
catalytic converters.

78. Onor about May 4, 2022, Unindicted Co-Conspirator No. 13, a person
known to the Grand Jury, issued a $5,610.00 check from Curtis Cores LLC’s Arvest
Bank account xxxx7264 to Unindicted Co-Conspirator No. 12, for the payment of
stolen catalytic converters transported from Houston, Texas, to the Curtis Cores

LLC location.

15
79. Onor about May 5, 2022, THOMAS paid Unindicted Co-Conspirator
No. 12 $100,000.00 in U.S. currency for the delivery of stolen catalytic converters
from Houston, Texas.

80. Onor about May 5, 2022, THOMAS gathered and prepared 40 stolen
Honda Element catalytic converters from the Curtis Cores LLC location for
shipment to an intermediate buyer in Kansas.

81. Onor about May 6, 2022, MANSOUR delivered stolen catalytic
converters to LARUE at the Curtis Cores LLC location.

82. Onor about May 6, 2022, LARUE issued a $2,450.00 check from
Curtis Cores LLC’s Arvest Bank account xxxx7264 to MANSOUR for the payment
of stolen catalytic converters.

83. On or about May 7, 2022, WEAVEL received a delivery of stolen
catalytic converters transported by commercial common carrier in Tulsa, Oklahoma.

84. Onor about May 7, 2022, KHANNA received stolen catalytic
converters from T. CURTIS at DG Auto in Freehold, New Jersey.

85. Onor about May 7, 2022, Unindicted Co-Conspirator No. 14, an
Arkansas-based intermediate buyer known to the Grand Jury, delivered stolen
catalytic converters to LARUE, MINNICK, RHODEN, and THOMAS at the

Curtis Cores LLC location.

16
86. Onor about May 7, 2022, MINNICK issued a $7,833.00 check from
Curtis Cores LLC’s Arvest Bank account xxxx7264 to Unindicted Co-Conspirator
No. 14 for the delivery of stolen catalytic converters.

87. Onor about May 7, 2022, A. SHARKEY provided R. SHARKEY
with stolen catalytic converters and approximately $280,000.00 in U.S. currency to
transport in a rented vehicle from New York to T. CURTIS in Oklahoma.

88. Onor about May 7, 2022, KHANNA provided R. SHARKEY with
approximately $849,000.00 in U.S. currency to transport in a rented vehicle from
DG Auto in New Jersey to T. CURTIS in Oklahoma.

89. Onor about May 8, 2022, Unindicted Co-Conspirator No. 12
concealed and shipped stolen catalytic converters from Houston, Texas, to T.
CURTIS in Oklahoma through commercial common carrier.

90. Onor about May 10, 2022, K. MACERAUSKAS received
approximately $1,075,000.00 in U.S. currency concealed in a trash bag from
KHANNA’s parents at KHANNA’s residence in Holmdel, New Jersey, to be
transported to M. MACERAUSKAS in Clarendon, Texas.

91. Onor about May 11, 2022, WEAVEL received $200,000.00 in U.S.
currency from Unindicted Co-Conspirator No. 13 at T. CURTIS’ residence for the
payment of stolen catalytic converters to be delivered from Houston, Texas.

92. Onor about May 12, 2022, R. BIBY concealed U.S. currency at T.

CURTIS’ residential property in Oklahoma.

17
93. Onor about May 27, 2022, T. CURTIS received and concealed stolen
catalytic converters from Unindicted Co-Conspirator No. 14 at the Curtis Cores LLC
location.

94, Onor about May 31, 2022, T. CURTIS received and concealed stolen
catalytic converters from Unindicted Co-Conspirator No. 12.

95.  Onor about June 25, 2022, T. CURTIS shipped stolen catalytic
converters through a commercial common carrier from Tulsa, Oklahoma, to A.
SHARKEY at the Capital Cores Corp.’s West Islip, New York, location.

96. Onor about June 25, 2022, MINNICK and RHODEN concealed and
transported stolen catalytic converters from the Curtis Cores LLC location to
Unindicted Co-Conspirator No. 15, an intermediate buyer in Phoenix, Arizona,
known to the Grand Jury.

97.  Onor about June 7, 2022, Unindicted Co-Conspirator No. 16, an
intermediate buyer in Houston, Texas, known to the Grand Jury, delivered stolen
catalytic converters to the Curtis Cores LLC location.

98. Onor about June 14, 2022, T. CURTIS received stolen catalytic
converters from Unindicted Co-Conspirator No. 2.

99. Onor about June 16, 2022, Unindicted Co-Conspirator No. 11 received
stolen catalytic converters from THOMAS and RHODEN on behalf of Curtis Cores

LLC.

18
100. On or about June 16, 2022, T. CURTIS concealed and shipped
approximately 2,820 stolen catalytic converters to Unindicted Co-Conspirator No.
17, a Burlington, New Jersey refinery, known to the Grand Jury.

101. Onor about July 7, 2022, MANSOUR delivered stolen catalytic
converters to T. CURTIS at the Curtis Cores LLC location.

102. On or about August 1, 2022, T. CURTIS caused approximately
$9 995.00 to be transferred to the father of Unindicted Co-Conspirator No. 18, an
intermediate buyer of stolen catalytic converters in Houston, Texas, known to the
Grand Jury, for his bond payment.

103. On or about August 3, 2022, T. CURTIS and A. SHARKEY
communicated over telephone to discuss the IRS reporting requirements relating to
wiring funds over $10,000.00.

104. On or about September 7, 2022, T. CURTIS received and concealed
stolen catalytic converters from MANSOUR at the Curtis Cores LLC location.

All in violation of Title 18, United States Code, Sections 371 and 2.

19
COUNTS TWO THROUGH NINETEEN
[18 U.S.C. §§ 2315 and 2]

 

105. The Grand Jury hereby incorporates and realleges paragraphs 1 through
104 of this Indictment.

106. On or about the dates stated below, in the Northern District of
Oklahoma and elsewhere, aided and abetted by each other and others known and
unknown to the Grand Jury, the defendants, NAVIN KHANNA, a/k/a “Lovin,”
a/k/a “Logan,” ADAM G. SHARKEY, TYLER JAMES CURTIS, a/k/a “Ty,”
SHANE ALLEN MINNICK, and BRIAN PATE THOMAS, as specified in the
table below, received, possessed, concealed, stored, bartered, sold, and disposed of
goods, wares and merchandise of a value in excess of $5,000, which had crossed a
State boundary after having been stolen, unlawfully converted, and taken, knowing

that the goods, wares, and merchandise had been stolen, unlawfully converted and

 

 

 

 

 

 

 

 

 

 

 

 

 

 

taken:
Count Date Originating State Delivered To Receiver
2 04/24/2021 Texas Oklahoma T. CURTIS
3 04/28/2021 Texas Oklahoma T. CURTIS
4 01/13/2022 Oklahoma New York A.SHARKEY
5 04/01/2022 Texas Oklahoma T. CURTIS
6 04/21/2022 Texas Oklahoma T. CURTIS
7 04/23/2022 Texas Oklahoma T. CURTIS
8 05/01/2022 Texas Oklahoma T. CURTIS
9 05/01/2022 Minnesota Oklahoma T. CURTIS
10 05/02/2022 Oklahoma Colorado MINNICK
1] 05/05/2022 California Oklahoma THOMAS
12 05/06/2022 Minnesota Oklahoma THOMAS
13 05/07/2022 Oklahoma New Jersey KHANNA
14 05/07/2022 Arkansas Oklahoma T. CURTIS

 

 

 

 

 

 

 

20
 

 

 

 

 

 

 

 

 

 

 

Count Date Originating State Delivered To Receiver
15 05/08/2022 Texas Oklahoma T. CURTIS
16 05/08/2022 Oklahoma Kansas THOMAS
17 05/27/2022 Arkansas Oklahoma T. CURTIS
18 05/31/2022 Texas Oklahoma T. CURTIS
19 06/07/2022 Texas Oklahoma T. CURTIS

 

All in violation of Title 18, United States Code, Sections 2315 and 2.

21

 
COUNT TWENTY
[18 U.S.C. § 1956(h)]

107. The Grand Jury hereby incorporates and realleges paragraphs 1 through
106 of this Indictment.

THE CONSPIRACY AND ITS OBJECT

 

108. Beginning at least as early as in or about March 2021 and continuing
through the date of this Indictment, the exact dates being unknown to the Grand
Jury, in the Northern District of Oklahoma and elsewhere, the defendants, TYLER
JAMES CURTIS a/k/a “Ty” and REISS NICOLE BIBY (the “Co-Conspirators”),
and others known and unknown to the Grand Jury, knowingly and willfully
conspired to commit the following offenses against the United States: to knowingly
engage and attempt to engage in monetary transactions, as described below, in
criminally derived property of a value greater than $10,000 and derived from
specified unlawful activities (Interstate Transportation of Stolen Property and Sale or
Receipt of Stolen Goods) in violation of Title 18, United States Code, Section 1957.

MANNER AND MEANS OF THE CONSPIRACY

 

109. The Co-Conspirators used the following manner and means to achieve
the objects of the conspiracy:

110. The allegations of paragraphs 9 through 47 are incorporated in this
count by reference.

111. On or about the dates stated below, T. CURTIS and R. BIBY

transferred and caused the transfer of proceeds derived from the commission of the

22
offenses of Interstate Transportation of Stolen Property and Sale and Receipt of
Stolen Goods by withdrawing proceeds from Arvest Bank account number

xxxx7264, in the following amounts set forth in the table below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘Date Subject Amount
03/24/2021 T. CURTIS $30,000.00
03/29/2021 T. CURTIS $50,000.00
03/29/2021 T. CURTIS $50,000.00
04/05/2021 T. CURTIS $250,000.00
04/12/2021 T. CURTIS $50,000.00
04/19/2021 T. CURTIS $50,000.00
04/26/2021 T. CURTIS $50,000.00
05/04/2021 T. CURTIS $100,000.00
07/26/2021 T. CURTIS $30,000.00
08/31/2021 T. CURTIS $20,000.00
09/01/2021 T. CURTIS $20,000.00
09/21/2021 T. CURTIS $40,000.00
09/24/2021 R. BIBY, T. CURTIS $20,000.00
09/27/2021 T. CURTIS $40,000.00
10/08/2021 T. CURTIS $40,000.00
10/11/2021 T. CURTIS $40,000.00
10/18/2021 T. CURTIS $40,000.00
10/28/2021 T. CURTIS $30,000.00
11/10/2021 R. BIBY, T. CURTIS $40,000.00
11/15/2021 T. CURTIS $40,000.00
12/02/2021 T. CURTIS $20,000.00
12/03/2021 T. CURTIS $40,000.00

12/09/21 T. CURTIS $50,000.00
12/16/21 R. BIBY $50,000.00
12/21/21 T. CURTIS $20,000.00
12/23/21 T. CURTIS $40,000.00

 

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Date Subject Amount
01/18/22 R. BIBY $50,000.00
01/19/22 T. CURTIS $20,000.00
01/24/22 T. CURTIS $25,000.00
01/24/22 R. BIBY $20,000.00
02/02/22 T. CURTIS $50,000.00
02/03/22 T. CURTIS $20,000.00
02/09/22 R. BIBY $40,000.00
02/16/22 T. CURTIS $40,000.00
02/21/22 T. CURTIS $40,000.00
02/22/22 R. BIBY $40,000.00
02/22/22 T. CURTIS $20,000.00
02/23/22 T. CURTIS $40,000.00
03/01/22 R. BIBY $50,000.00
03/10/22 T. CURTIS $50,000.00
03/15/22 T. CURTIS $52,000.00
03/18/22 T. CURTIS $50,000.00
03/18/22 T. CURTIS $40,000.00
03/25/22 R. BIBY $50,000.00
04/06/22 T. CURTIS $50,000.00
04/29/22 T. CURTIS $60,000.00
05/02/22 T. CURTIS $40,000.00
05/17/22 R. BIBY $40,000.00
06/07/22 T. CURTIS $40,000.00
06/10/22 T. CURTIS $50,000.00
06/14/22 T. CURTIS $20,000.00
06/27/22 R. BIBY, T. CURTIS $17,000.00
06/29/22 T. CURTIS $50,000.00
07/15/22 T. CORTIS $40,000.00
07/21/22 T. CURTIS $60,000.00
07/29/22 T. CURTIS $50,000.00
08/11/22 R. BIBY $40,000.00

 

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Date Subject ~ Amount
08/15/22 T. CURTIS $40,000.00
08/29/22 T. CURTIS $40,000.00
09/01/22 R. BIBY, T. CURTIS $20,000.00
09/06/22 T. CURTIS $40,000.00
09/12/22 T. CURTIS $40,000.00

 

All in violation of Title 18, United States Code, Section 1956(h).

25

 
COUNT TWENTY-ONE
[18 U.S.C. §1956(h)}

112. The Grand Jury hereby incorporates and realleges paragraphs 1 through
111 of this Indictment.

THE CONSPIRACY AND ITS OBJECT

 

113. Beginning at least as early as in or about March 2021 and continuing
through the date of this Indictment, the exact dates being unknown to the Grand
Jury, in the Northern District of Oklahoma and elsewhere, the defendants, NAVIN
KHANNA, a/k/a “Lovin,” a/k/a “Logan,” and TYLER JAMES CURTIS, a/k/a
“Ty” (the “Co-Conspirators”), and others known and unknown to the Grand Jury,
knowingly and willfully conspired to commit the following offenses against the
United States: to knowingly engage and attempt to engage in monetary transactions,
as described below, in criminally derived property of a value greater than $10,000
and derived from specified unlawful activities (Interstate Transportation of Stolen
Property and Sale or Receipt of Stolen Goods) in violation of Title 18, United States

Code, Section 1957.

MANNER AND MEANS OF THE CONSPIRACY

 

114. The Co-Conspirators used the following manner and means to achieve
the objects of the conspiracy:
115. The allegations of paragraphs 9 through 47 are incorporated in this

count by reference.

26
116. Onor about the dates stated below, KHANNA and T. CURTIS

transferred and caused the transfer of proceeds derived from the commission of the

offenses of Interstate Transportation of Stolen Property and Sale and Receipt of

Stolen Goods from various DG Auto financial accounts to the Curtis Cores LLC

Arvest Bank Account xxxx7264, as set forth in the table below:

 

Originating _

Beneficiary

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Account Account Amount
03/25/2021 Wells Fargo xxxx1308 Arvest xxxx7264 | $140,000.00
03/31/2021 Wells Fargo xxxx1308 Arvest xxxx7264 | $200,000.00
04/26/2021 | Valley National Bank xxxx5035 | Arvest xxxx7264 | $150,000.00
04/28/2021 | Valley National Bank xxxx5035 ; Arvest xxxx7264 $300,000.00
09/01/2021 | Valley National Bank xxxx5035 | Arvest xxxx7264 | $51,000.00
09/07/2021 | Valley National Bank xxxx5035 | Arvest xxxx7264 | $99,985.00
10/01/2021 | Valley National Bank xxxx5035 | Arvest xxxx7264 $30,000.00
10/13/2021 | Valley National Bank xxxx5035 | Arvest xxxx7264 | $50,000.00
10/29/2021 | Valley National Bank xxxx5035 | Arvest xxxx7264 | $286,000.00
12/07/2021 | Valley National Bank xxxx5035 Arvest xxxx7264 $100,000.00
01/12/2022 | Valley National Bank xxxx5035 | Arvest xxxx7264 | $50,000.00
03/18/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $499,985.00
04/11/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $99,985.00
04/14/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $39,985.00
04/18/2022 Investors Bank xxxx8534 Arvest xxxx7264 $99,985.00
04/22/2022 Investors Bank xxxx8534 Arvest xxxx7264 $99,985.00
04/28/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $74,985.00
05/04/2022 Investors Bank xxxx8534 Arvest xxxx7264 $99,985.00
05/10/2022 Investors Bank xxxx8534 Arvest xxxx7264 $49,985.00
05/12/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $99,985.00
05/16/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $649,985.00

 

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Date oneunt’__|__-Accoune’__ | Amount
05/27/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $99,985.00
06/01/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $399,985.00
06/06/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $199,985.00
06/08/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $109,985.00
06/24/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $109,985.00
06/27/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $149,985.00
06/28/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $249,985.00
07/08/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $199,985.00
07/14/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $99,985.00
07/15/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $199,985.00
07/20/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $299,985.00
07/26/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $45,985.00
08/01/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $349,985.00
08/02/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $199,985.00
08/04/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $199,985.00
08/08/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $149,985.00
08/11/2022 Investors Bank xxxx8534 Arvest xxxx7264 $99,985.00
08/17/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $749,985.00
08/19/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $149,985.00
08/23/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $199,985.00
08/26/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $149,985.00
08/31/2022 Investors Bank xxxx8534 Arvest xxxx7264 | $200,000.00

 

All in violation of Title 18, United States Code, Section 1956(h).

28

 
COUNT TWENTY-TWO
[18 U.S.C. § 1956(h)]

117. The Grand Jury hereby incorporates and realleges paragraphs 1 through
116 of this Indictment.

THE CONSPIRACY AND ITS OBJECT

 

118. Beginning at least as early as in or about July 2021 and continuing
through the date of this Indictment, the exact dates being unknown to the Grand
Jury, in the Northern District of Oklahoma and elsewhere, the defendants, ADAM
G. SHARKEY and TYLER JAMES CURTIS, a/k/a “Ty” (the “Co-
Conspirators”), and others known and unknown to the Grand Jury, knowingly and
willfully conspired to commit the following offenses against the United States: to
knowingly engage and attempt to engage in monetary transactions, as described
below, in criminally derived property of a value greater than $10,000 and derived
from specified unlawful activities (Interstate Transportation of Stolen Property and
Sale or Receipt of Stolen Goods) in violation of Title 18, United States Code, Section
1957.

MANNER AND MEANS OF THE CONSPIRACY

 

119. The Co-Conspirators used the following manner and means to achieve
the objects of the conspiracy:
120. The allegations of paragraphs 9 through 47 are incorporated in this

count by reference.

29
121. Onor about the dates stated below, A. SHARKEY and T. CURTIS
transferred and caused the transfer of proceeds, transferred and caused the transfer of
proceeds derived from the commission of the offenses of Interstate Transportation of
Stolen Property and Sale and Receipt of Stolen Goods from Capital Cores Corp.

financial accounts to Curtis Cores LLC, as set forth in the table below:

 

Posted Date | Originating Account Beneficiary Account Amount

07/13/2021 TD Bank xxxxxx6307 Arvest xxxx7264 $50,000.00
08/02/2021 TD Bank xxxxxx6307 Arvest xxxx7264 $30,000.00
11/29/2021 TD Bank xxxxxx6307 Arvest xxxx7264 $15,000.00
12/09/2021 TD Bank xxxxxx6307 Arvest xxxx7264 $30,000.00
12/21/2021 TD Bank xxxxxx6307 Arvest xxxx7264 $40,000.00
12/22/2021 TD Bank xxxxxx6307 Arvest xxxx7264 $100,000.00

 

 

 

 

 

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1956(h).

30
COUNT TWENTY-THREE
[18 U.S.C. § 1956(h)]

 

122. The Grand Jury hereby incorporates and realleges paragraphs 1 through
121 of this Indictment.

THE CONSPIRACY AND ITS OBJECT

 

123. Beginning at least as early as in or about November 2020 and
continuing through the date of this Indictment, the exact dates being unknown to the
Grand Jury, in the Northern District of Oklahoma and elsewhere, the defendants,
ADAM G. SHARKEY and BENJAMIN ROBERT MANSOUR (the “Co-
Conspirators”), and others known and unknown to the Grand Jury, knowingly and
willfully conspired to commit the following offenses against the United States: to
knowingly engage and attempt to engage in monetary transactions, as described
below, in criminally derived property of a value greater than $10,000 and derived
from specified unlawful activities (Interstate Transportation of Stolen Property and.
Sale or Receipt of Stolen Goods) in violation of Title 18, United States Code, Section
1957.

MANNER AND MEANS OF THE CONSPIRACY

 

124. The Co-Conspirators used the following manner and means to achieve
the objects of the conspiracy:
125. The allegations of paragraphs 9 through 47 are incorporated in this

count by reference.

31
126. On or about the dates stated below, A. SHARKEY and MANSOUR

transferred and caused the transfer of proceeds, transferred and caused the transfer of

proceeds derived from the commission of the offenses of Interstate Transportation of

Stolen Property and Sale and Receipt of Stolen Goods from Capital Cores Corp.’s

TD Bank account xxxxxx6307 to the financial accounts owned and maintained by

entities op MANSOUR, including GC Automotive and Parts LLC and Premier

Hybrid and Battery LLC, as set forth in the table below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date ~ Destination Account . Beneficiary | Amount

11/02/2020) BBVA Compass Bank | Gc automotive and PartsLLC | $11,285.00
Account xxxxx3815

12/09/2029 | BBVA Compass Bank | Gc automotive and Parts LLC _ | $11,479.00
Account xxxxx3815

12/28/2020 | BBVA Compass Bank | Gc automotive and Parts LLC | $18,273.00
Account xxxxx3815

01/08/2021 | BBVA Compass Bank | Go automotive andPartsLLC | $12,450.00
Account xxxxx3815

01/20/2021) BBVA Compass Bank | Go automotive and PartsLLC | $13,447.00
. Account xxxxx3815

02/04/2021 | rhe BANCORP =| Go automotive and PartsLLC | $14,481.00
Account xxxx6273

02/17/2021; rhe BANCORP | Gc Automotive and Parts LLC | $21,279.00
Account xxxx6273

03/22/2021 The BANCORP GC Automotive and Parts LLC _ | $13,799.00
Account xxxx6273

04/02/2021|  BankofAmerica =| Gc Automotive and Parts LLC —_| $26,300.00
Account xxxx8874

04/07/2021; BankofAmerica =| Gc automotive and Parts LLC | $15,000.00
Account xxxx8874

04/13/2021 |  BankofAmerica | Gc automotive and Parts LLC | $33,049.00
Account xxxx8874

04/22/2021 Bank of America GC Automotive and Parts LLC _| $42,494.00
Account xxxx8874

05/03/2021|  PankofAmerica =| Gc automotive and PartsLLC | $30,000.00
Account xxxx8874

 

 

 

 

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Date _ Destination Account. Beneficiary Amount —
Bank of America .
05/05/2021 Account 8874 GC Automotive and Parts LLC $20,167.00
05/12/2021|  BankofAmerica | Gc automotive and Parts LLC | $28,910.00
Account xxxx8874
05/21/2021 |  BankofAmerica | Go Automotive and Parts LLC __ | $50,000.00
Account xxxx8874
06/01/2021}  BankofAmerica | Gc Automotive and Parts LLC | $40,021.00
Account xxxx8874
06/22/2021; BankofAmerica | Gc Automotive and Parts LLC | $45,000.00
Account xxxx8874
07/09/2021|  BankofAmerica =| Gc automotive and Parts LLC | $15,000.00
Account xxxx8874
07/09/2021) BankofAmerica | Gc automotive and Parts LLC | $20,000.00
Account xxxx8874
07/12/2021 |  BankofAmerica =| Go automotive and Parts LLC | $30,000.00
Account xxxx8874
07/22/2021|  BankofAmerica | Gc Automotive and Parts LLC | $25,000.00
Account xxxx8874
08/02/2021 |  BankofAmerica =| Go automotive and Parts LLC | $40,000.00
Account xxxx8874
08/06/2021)  BankofAmerica | Gc Automotive and Parts LLC | $15,000.00
Account xxxx8874
08/23/2021|  BankofAmerica =| Gc Automotive and Parts LLC _ | $30,000.00
Account xxxx8874 °
08/25/2021;  BankofAmerica | Gc Automotive and Parts LLC _ | $35,245.00
Account xxxx8874
08/27/2021)  BankofAmerica | Gc Automotive and Parts LLC | $10,774.00
Account xxxx8874
09/14/2021 |  BankofAmerica =| Gc automotive and Parts LLC | $51,000.00
Account xxxx8874
09/24/2021 |  BankofAmerica | Gc automotive and Parts LLC | $18,778.00
Account xxxx8874
10/04/2021|  BankofAmerica | Gc Automotive and Parts LLC _ | $30,000.00
Account xxxx8874
10/18/2021 |  BankofAmerica | Gc automotive and Parts LLC —_| $20,000.00
Account xxxx8874
10/18/2021 | Radivs Bank Account | premier Hybrid and Battery LLC | $15,358.00
XXXXKXX7373
10/28/2021 Bank of America GC Automotive and Parts LLC __| $15,799.00
Account xxxx8874

 

 

 

 

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~« Date Destination Account _ Beneficiary Amount

10/28/2021 | Radius Bank Account | pemier Hybrid and Battery LLC | $17,251.00
XXXXXX7373

11/15/2021}  BankofAmerica | Gc Automotive and Parts LLC | $13,042.00

Account xxxx8874

11/15/2021 | Radius Bank Account | premier Hybrid and Battery LLC | $26,266.00
XXXXXX7373

12/09/2021 | Radius Bank Account | premier Hybrid and Battery LLC | $20,000.00
XXXXXX7373

12/28/2021 | Radius Bank Account | pemier Hybrid and Battery LLC | $15,000.00
XXXXXX7373

Bank of America . .
01/06/2022 Account 8874 Premier Hybrid and Battery LLC | $20,000.00

 

 

 

 

All in violation of Title 18, United States Code, Section 1956(h).

34

 
COUNT TWENTY-FOUR through FORTY
[18 U.S.C. § 1957(a)]

127. The Grand Jury hereby incorporates and realleges paragraphs 1|
through 126 of this Indictment.

128. Beginning at least as early as in or about March 2021 and continuing
through the date of this Indictment, and on or about the dates stated below, in the
Northern District of Oklahoma and elsewhere, the defendants, NAVIN KHANNA,
a/k/a “Lovin,” a/k/a “Logan,” ADAM G. SHARKEY, and TYLER JAMES
CURTIS a/k/a “Ty,” knowingly engaged and attempted to engage in monetary
transactions, as described below, in criminally derived property of a value greater
than $10,000 and derived from specified unlawful activities. The specified unlawful
activities were Interstate Transportation of Stolen Property, in violation of Title 18,
United States Code, Section 2314 and Sale or Receipt of Stolen Goods, in violation
of Title 18, United States Code, Section 2315.

129. The monetary transactions described below represent funds KHANNA
transferred from DG Auto Investors Bank account xxx8534 to the Curtis Cores LLC

Arvest Bank Account xxxx7264:

 

Count Date Amount
24 03/18/2022 $499,985.00
25 05/16/2022 $649,985.00
26 06/01/2022 $399,985.00
27 08/01/2022 $349,985.00
28 08/17/2022 $749,985.00

 

 

 

 

 

 

 

 

 

 

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130. The monetary transactions described below represent funds A.
SHARKEY transferred from TD Bank account xxxxxx6307 to the Curtis Cores LLC

Arvest Bank Account xxxx7264:

 

 

 

 

 

 

 

 

 

 

Count Date Amount
29 07/13/2021 $50,000.00
30 08/02/2021 $30,000.00
31 11/29/2021 $15,000.00
32 12/09/2021 $30,000.00
33 12/21/2021 $40,000.00
34 12/22/2021 $100,000.00

 

 

131. The monetary transactions described below represent funds A.
SHARKEY transferred from TD Bank account xxxxxx6307 to financial accounts
owned and maintained by entities of MANSOUR, including GC Automotive and

Parts LLC and Premier Hybrid and Battery LLC:

 

 

 

 

 

 

 

 

 

 

Count Date Amount
35 04/13/2021 $33,049.00
36 04/22/2021 $42,494.00
37 05/21/2021 $50,000.00
38 06/01/2021 $40,021.00
39 06/22/2021 $45,000.00
AQ 08/02/2021 $40,000.00

 

All in violation of Title 18, United States Code, Section 1957(a).

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FORFEITURE ALLEGATION
[18 U.S.C. §§ 981(a)(1)(c) and 982(a)(1), and 28 U.S.C. § 2461]

The allegations contained in this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures pursuant to Title 18,
United States Code, Section 981(a)(1)(c), Title 18, United States Code, Section
982(a), and Title 28, United States Code, Section 2461.

Upon conviction of the offenses alleged in this Indictment, as a part of their
sentences, the defendants, NAVIN KHANNA, a/k/a “Lovin,” a/k/a “Logan,”
ADAM G. SHARKEY, ROBERT GARY SHARKEY, BENJAMIN ROBERT
MANSOUR, TYLER JAMES CURTIS, a/k/a “”Ty,” REISS NICOLE BIBY,
MARTYNAS MACERAUSKAS, a/k/a “Marty,” KRISTINA McKAY
MACERAUSKAS, PARKER STAR WEAVEL, SHANE ALLEN MINNICK,
RYAN DAVID LARUE, BRIAN PATE THOMAS, and MICHAEL ANTHONY
RHODEN, a/k/a “Big Mike,” shall forfeit to the United States any property
constituting, or derived from, or traceable to, the proceeds obtained, directly or
indirectly, as a result of such violations, and any property, real or personal, that was
used or intended to be used to commit or to facilitate the violation of federal law.
The property to be forfeited includes, but is not limited to:

CURRENCY

1. Approximately $500,000.00 in United States currency seized from MINNICK
on or about May 2, 2022 at the Tulsa International Airport;

2. Approximately $1,129,000.00 in United States currency seized from R.
SHARKEY on or about May 8, 2022 in Wyandotte, Oklahoma;

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3. Approximately $1,075,000.00 in United States currency seized from K.
MACERAUSKAS and M. MACERAUSKAS on or about May 11, 2022 in
Texas;

REAL PROPERTY

4. All that lot and parcel of land, together with all buildings, appurtenances,
improvements, fixtures, attachments and easements thereon, and all rights
appertaining thereto, located at 73144 South 250 Road, Wagoner, Oklahoma;

PERSONAL PROPERTY

5. A 2017 Four Winns H180 boat, VIN PFWME077K617;

6. A 2017 Boat Trailer, VIN 566F8ZR13H2000070;

FINANCIAL ACCOUNTS

7. AllU‘S. currency, funds, and other monetary instruments credited to or seized
from account number xxxx7264 held in the name of Tyler Curtis d/b/a Curtis
Cores LLC located at Arvest Bank;

8. All U.S. currency, funds, and other monetary instruments credited to or seized
from account number xxxx1660 held in the name of Monica M. Curtis and
Tyler J. Curtis located at Arvest Bank,

9. All U.S. currency, funds, and other monetary instruments credited to or seized
from account number xxxx1741 held in the name of Tyler J. Curtis located at
Arvest Bank;

10. All U.S. currency, funds, and other monetary instruments credited to or seized
from account number xxxx1987 held in the name of Reiss N. Biby and
Kimberly D. Biby located at Arvest Bank;

11. All U.S. currency, funds, and other monetary instruments credited to or seized
from account number xxxx9507 held in the name of Tyler J. Curtis and Reiss
N. Biby located at Arvest Bank;

VEHICLES

12.A 2019 Volvo XC6, registered to Kimberly D. Biby and Reiss N. Biby;

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13.A 2019 Chevrolet Silverado, registered to Tyler Curtis and Reiss Biby; and
14.A 2012 Chevrolet Silverado, registered to Tyler Curtis and Reiss Biby;
Pursuant to Title 21, United States Code, Section 853(p), as incorporated by
Title 18, United States Code, Sections 982(b)(1) and 1028(g), and Title 28, United
States Code, Section 2461(c), the defendant(s) shall forfeit substitute property, up to
the value of the property described above if, by any act or omission of the
defendant(s), the property described above, or any portion thereof, cannot be located
upon the exercise of due diligence; has been transferred or sold to, or deposited with,
a third party; has been placed beyond the jurisdiction of the court; has been
substantially diminished in value; or has been commingled with other property
which cannot be divided without difficulty.
All pursuant to Title 18, United States Code, Sections 981(a)(1)(c) and
982(a)(1), and Title 28, United States Code, Section 2461.

CLINTON J. JOHNSON
United States Attorney A TRUE BILL

KRewwwae /s/ Grand Juror Foreperson
REAGAN V. REININGER Grand Jury Foreperson
Assistant United States Attorney

 

Trial Attorney
Organized Crime and Gang Section
U.S. Department of Justice

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